                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
                       Plaintiff,                )
                                                 )          No. 3:13-CR-71
 v.                                              )
                                                 )          (VARLAN/GUYTON)
 KIMBERLY ROBINSON,                              )
                                                 )
                       Defendant.                )


                            REPORT AND RECOMMENDATION

        Counsel for Defendant Kimberly Robinson, who has been appointed pursuant to the

 Criminal Justice Act, 18 U.S.C. § 3006A, has moved by way of his Motion to Have Case

 Declared Complex and Extended [Doc. 115], for a waiver of the case compensation maximum

 limit and for interim payment of attorney compensation. The Criminal Justice Act and the Guide

 to Judiciary Policy provides for a maximum compensation limit of $9,700 for each attorney in a

 non-capital case charging one or more felonies. 18 U.S.C. § 3006A(d)(2) (providing that the

 case compensation maximums shall increase “simultaneously” with changes in the hourly rate);

 7 Guide to Judiciary Policy, Chapter 2-Appointment and Payment of Counsel, §§ 230.23.10(h),

 230.23.20(a) (hereinafter Guide). Payment in excess of the $9,700 limit may be allowed if the

 court certifies that the amount of the excess payment is necessary to provide fair compensation

 and the payment is approved by the chief judge of the circuit or his or her designee. 18 U.S.C. §

 3006A(d)(3).

        In the present case, counsel requests that the case be declared extended and complex due

 to the high volume of discovery resulting from a lengthy wiretap investigation. The Government

 has not responded to this motion.


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Case 3:13-cr-00071-TAV-JEM           Document 122      Filed 11/25/13      Page 1 of 4     PageID
                                           #: 472
       The following regulation is pertinent to the question of whether or not the $9,700

 maximum on compensation should be waived:

              (a) Overview

              Payments in excess of CJA compensation maximums may be made
              to provide fair compensation in cases involving extended or
              complex representation when so certified by the court or U.S.
              magistrate judge and approved by the chief judge of the circuit (or
              by an active or senior circuit judge to whom excess compensation
              approval authority has been delegated).

              (b) Extended or Complex Cases

              The approving judicial officer should first make a threshold
              determination as to whether the case is either extended or
              complex.

                     If the legal or factual issues in a case are unusual, thus
                      requiring the expenditure of more time, skill, and effort by
                      the lawyer than would normally be required in an average
                      case, the case is “complex.”

                     If more time is reasonably required for total processing
                      than the average case, including pre-trial and post-trial
                      hearings, the case is “extended.”

              (c) Determining Fair Compensation

              After establishing that a case is extended or complex, the
              approving judicial officer should determine if excess payment is
              necessary to provide fair compensation. The following criteria,
              among others, may be useful in this regard:

                     responsibilities involved measured by the magnitude and
                      importance of the case;

                     manner in which duties were performed;

                     knowledge, skill, efficiency, professionalism, and judgment
                      required of and used by counsel;

                     nature of counsel’s practice and injury thereto;




                                                2

Case 3:13-cr-00071-TAV-JEM         Document 122        Filed 11/25/13     Page 2 of 4       PageID
                                         #: 473
                      any extraordinary pressure of time or other factors under
                       which services were rendered; and

                      any other circumstances relevant and material to a
                       determination of a fair and reasonable fee.

 7 Guide, Chapter 2, § 230.23.40. “Case compensation limits apply only to attorney fees.” 7

 Guide, Chapter 2, § 230.23.10(d). There is no limit on the presiding judge’s authority to

 reimburse counsel’s expenses except as to compensation for investigators and other experts. 18

 U.S.C. § 3006A(e); 7 Guide, Chapter 2, §§ 230.23.10(d), 230.63.10.

        In this case, the Defendant is charged [Doc. 1] with conspiring with seven named

 codefendants to distribute cocaine from January 2000 to June 11, 2013 (Count One) and with

 conspiring with those same individuals to launder the proceeds of drug trafficking during the

 same time period (Count Two). The Defendant’s case is currently set for trial on April 8, 2014.

 The Court observes that on the same day as the filing of this motion, counsel also filed a motion

 to continue [Doc. 114] in which counsel provided more detail as to the nature of the discovery in

 this case. Specifically, counsel submitted that the discovery consisted of numerous intercepted

 telephone conversations and text messages involving the Defendant and codefendants, and that

 additional discovery, including business records from the Defendant’s cellular telephone service

 providers, is expected. The Court notes that although it granted [Doc. 116] a continuance of the

 trial to give counsel time to review the discovery, including discovery that he has not yet

 received, it has not found that this case is unusual or complex with regard to the number of

 defendants, the nature of the prosecution, or the presence of novel questions of law or fact for

 purposes of the Speedy Trial Act. See 18 U.S.C. 3161(h)(7)(B)(ii).

        The Court finds that at this juncture of the litigation, it is premature to declare the case

 extended and complex. Counsel has not demonstrated that this case has required or will require



                                                 3

Case 3:13-cr-00071-TAV-JEM          Document 122        Filed 11/25/13      Page 3 of 4      PageID
                                          #: 474
 “more time, skill, and effort” on the part of defense counsel than typically required in the average

 case. Although counsel submits that there is a voluminous amount of discovery in this case, this

 factor alone does not render the case complex. Moreover, counsel’s concern regarding the

 amount of discovery, in and of itself, does not demonstrate that this case requires significantly

 more time to litigate than a typical case in order to declare the case extended.

         Accordingly, the Court finds the circumstances of this case do not rise to the level of

 those cases that are extended or complex. If counsel encounters a change in circumstances

 during his representation of the Defendant that would warrant a finding that the case is extended

 or complex, he may move again for such a declaration. For the reasons stated herein, it is

 RECOMMENDED1 that the Motion to Have Case Declare Complex and Extended [Doc. 115]

 be DENIED.

                                                       Respectfully submitted,



                                                             s/ H. Bruce Guyton
                                                       United States Magistrate Judge




 1
  Any objections to this report and recommendation must be served and filed within fourteen (14) days after service
 of a copy of this recommended disposition on the objecting party. Fed. R. Crim. P. 59(b)(2) (as amended). Failure
 to file objections within the time specified waives the right to review by the District Court. Fed. R. Crim. P.
 59(b)(2); see United States v. Branch, 537 F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140,
 155 (1985) (providing that failure to file objections in compliance with the required time period waives the right to
 appeal the District Court’s order). The District Court need not provide de novo review where objections to this
 report and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d 636, 637 (6th Cir.
 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation of Teachers, 829
 F.2d 1370, 1373 (6th Cir. 1987).


                                                          4

Case 3:13-cr-00071-TAV-JEM                 Document 122            Filed 11/25/13         Page 4 of 4        PageID
                                                 #: 475
